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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION


STATE OF TEXAS, et al.,

                        Plaintiffs,

        v.
                                                         Civil Action No. 5:22-cv-00185-H
XAVIER BECERRA, in his official capacity as
Secretary of Health and Human Services, et al.,

                        Defendants.



                            DEFENDANTS’ MOTION TO DISMISS
        Defendants hereby move to dismiss Plaintiffs’ Amended Complaint, see ECF No. 18, under

Federal Rule of Civil Procedure 12(b)(1). As further detailed in the accompanying memorandum of

law, also submitted in opposition to Plaintiffs’ Motion for a Preliminary Injunction or Temporary

Restraining Order, see ECF Nos. 22 (Motion), 23 (Memorandum, or “Pls.’ Mem.”), Plaintiffs’

Complaint fails for threshold reasons, including standing, and should be dismissed for lack of subject

matter jurisdiction. Moreover, Plaintiffs’ motion fails to establish their entitlement to extraordinary

preliminary relief, as Plaintiffs are unlikely to succeed on the merits of their claims and the balance of

equities counsels in favor of denying Plaintiffs’ motion for injunctive relief. A proposed order is

attached hereto.


 Dated: August 15, 2022                                 Respectfully Submitted,

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                                                        Deputy Assistant Attorney General

                                                        JENNIFER D. RICKETTS
                                                        Director, Federal Programs Branch


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                                       ERIC B. BECKENHAUER
                                       Assistant Branch Director

                                       /s/ Christopher R. Healy                 .
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Secretary of Health and Human Services, et al.,

                       Defendants.


      [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS

       Before the Court is Defendants’ Motion to Dismiss for Lack of Subject Matter Jurisdiction.

After due consideration of the briefing, arguments, evidence presented, and applicable law, the

Court hereby GRANTS Defendants’ Motion. SO ORDERED.

       DATED:___________

                                                      _______________________
                                                      JAMES WESLEY HENDRIX
                                                      UNITED STATES DISTRICT JUDGE




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